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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


UNITED STATES OF AMERICA,
v.                                                             Criminal Case No. 3:25MJ054

LUIS ALONSO ARGUETA-DIAZ,

                Defendant.

                                               ORDER

        This matter is before the Court for an identity hearing, preliminary hearing, and detention

 hearing relating to a Criminal Complaint filed in the District of New Mexico alleging a violation

 of Title 8 U.S.C. 1324(a)(1)(A)(v)(I), (a)(1)(A)(ii); Conspiracy to Transport an Illegal Alien.

        During the hearing on May 21, 2025, Defendant agreed to waive his right to an identity

 hearing and production of the warrant. Further, Defendant waived his right to a Preliminary

 hearing in this district and requested a Preliminary hearing in the charging district. The Court

 proceeded with a detention hearing, and heard evidence and argument from counsel.

        For the reasons stated on the record and pursuant to 18 U.S.C. § 3142, the Court found that

 there were conditions or a combination of conditions that could be imposed to ensure Defendant’s

 appearance and the safety of the community, and conditions of release were imposed. Following

 this finding, the Government moved to stay the Court’s order of release and the Order

 Setting Conditions of Release (ECF No. 8.) pending an appeal to a district judge in the

 District of New Mexico. The Court GRANTED the government’s oral motion. The Order

 Setting Conditions of Release (ECF No. 8) is hereby STAYED for a period of forty-eight

 (48) hours to allow the government to file an appeal of this Court’s decision in the District of

 New Mexico. Defendant shall remain in custody of the United States Marshals pending the

 determination of the appeal, if filed, by the District of New Mexico. If no appeal
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is filed within the forty-eight hours, Defendant shall be released on the conditions outlined in

Order Setting Conditions of Release (ECF No. 8.)

       IT IS SO ORDERED.

       The Clerk is directed to send a copy of this Order to the United States Marshal Service, the

Pretrial Services Office, and all counsel of record.




Date: May 22, 2025                                         /s/ _________
Richmond, Virginia                            Mark R. Colombell
                                              United States Magistrate Judge
